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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §            CRIMINAL NO. 6:06-CR-95-18
                                                §
 BILLY SHAWN PARKER                             §

                 ORDER ON REVOCATION OF SUPERVISED RELEASE

        The above entitled and numbered criminal action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge, which

 contains his proposed findings of fact and recommendations for the disposition of such action, has

 been presented for consideration. The parties waived objections to the Report and

 Recommendations.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

 findings and conclusions of this Court.
       So ORDERED and SIGNED this 6th day of December, 2011.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE
